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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        Case No. 17-24624-Civ-COOKE/GOODMAN

   SECURITIES AND EXCHANGE
   COMMISSION,

          Plaintiff,

   vs.

   ROBERT H. SHAPIRO, et al.,
   ______________________________/
                       JUDGMENT AS TO DEBTOR DEFENDANTS
          The Securities and Exchange Commission having filed an Amended Complaint and
   Defendants Woodbridge Group of Companies, LLC (“Woodbridge”), WMF Management,
   LLC (“WMF”), Woodbridge Structured Funding, LLC (“WSF”), Woodbridge Mortgage
   Investment Fund 1, LLC (“Fund 1”), Woodbridge Mortgage Investment Fund 2, LLC
   (“Fund 2”), Woodbridge Mortgage Investment Fund 3, LLC (“Fund 3”), Woodbridge
   Mortgage Investment Fund 3A, LLC (“Fund 3A”), Woodbridge Mortgage Investment
   Fund 4, LLC (“Fund 4”), Woodbridge Commercial Bridge Loan Fund 1, LLC (“Bridge
   Loan Fund 1”), Woodbridge Commercial Bridge Loan Fund 2, LLC (“Bridge Loan Fund
   2”), and the 142 Woodbridge-Affiliated Property Limited Liability Companies and 130
   Woodbridge-Affiliated Holding Limited Liability Companies (collectively the “Property
   and Holding Companies” and with and with Woodbridge, WMF, WSF, Fund 1, Fund 2,
   Fund 3, Fund 3A, Fund 4, Bridge Loan Fund 1, and Bridge Loan Fund 2, “Debtor
   Defendants”), identified in Appendix A to the Amended Complaint for Injunctive and Other
   Relief (the “Amended Complaint”) (ECF No. 147) filed by the Securities and Exchange
   Commission (the “Commission”), having entered a general appearance; consented to the
   Court’s jurisdiction over Debtor Defendants and the subject matter of this action; consented
   to entry of this Judgment without admitting or denying the allegations of the Amended
   Complaint (except as to jurisdiction), subject to bankruptcy court approval in Debtor
   Defendants’ pending Chapter 11 Bankruptcy Case [Case No. 17-12560-KJC (Bankr. D.
   DE), the “Bankruptcy Case”], which has been so approved, waived findings of fact and



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   conclusions of law; and waived any right to appeal from this Judgment, Plaintiff’s Amended
   Unopposed Motion for Entry of Judgment of Permanent Injunction and Other Relief (ECF
   No. 149) is GRANTED as follows:
                                                I.
                            PERMANENT INJUNCTIVE RELIEF
                                                A.
                   Section 5 of the Securities Act of 1933 (“Securities Act”)
    (Against Woodbridge, WMF, WSF, Fund 1, Fund 2, Fund 3, Fund 3A, Fund 4, Bridge
                             Loan Fund 1 and Bridge Loan Fund 2)
         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendants
   Woodbridge, WMF, WSF, Fund 1, Fund 2, Fund 3, Fund 3A, Fund 4, Bridge Loan Fund 1
   and Bridge Loan Fund 2, are permanently restrained and enjoined from violating Section 5
   of the Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any
   applicable exemption:
         (a)    Unless a registration statement is in effect as to a security, making use of any
                means or instruments of transportation or communication in interstate
                commerce or of the mails to sell such security through the use or medium of
                any prospectus or otherwise;
         (b)    Unless a registration statement is in effect as to a security, carrying or causing
                to be carried through the mails or in interstate commerce, by any means or
                instruments of transportation, any such security for the purpose of sale or for
                delivery after sale; or
         (c)    Making use of any means or instruments of transportation or communication
                in interstate commerce or of the mails to offer to sell or offer to buy through
                the use or medium of any prospectus or otherwise any security, unless a
                registration statement has been filed with the Commission as to such security,
                or while the registration statement is the subject of a refusal order or stop
                order or (prior to the effective date of the registration statement) any public
                proceeding or examination under Section 8 of the Securities Act [15 U.S.C. §
                77h].




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          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
   following who receive actual notice of this Judgment by personal service or otherwise: (a)
   These Defendants’ officers, agents, servants, employees, and attorneys; and (b) other
   persons in active concert or participation with these Defendants or with anyone described in
   (a).
                                                  B.
                           Section 17(a)(1) and (3) of the Securities Act
                                   (Against Debtor Defendants)
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Debtor
   Defendants are permanently restrained and enjoined from violating Sections 17(a)(1) and
   (3) of the Securities Act [15 U.S.C. §§ 77q(a)(1) and (3)] in the offer or sale of any security
   by the use of any means or instruments of transportation or communication in interstate
   commerce or by use of the mails, directly or indirectly:
          (a)    to employ any device, scheme, or artifice to defraud;
          (b)    to engage in any transaction, practice, or course of business which operates or
                 would operate as a fraud or deceit upon the purchaser,
   with respect to:
                 (A) any investment strategy or investment in securities,
                 (B) the prospects for success of any product or company,
                 (C) the use of investor funds,
                 (D) compensation to any person,
                 (E) the misappropriation of investor funds or investment proceeds.
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
   following who receive actual notice of this Judgment by personal service or otherwise: (a)
   These Defendants’ officers, agents, servants, employees, and attorneys; and (b) other
   persons in active concert or participation with these Defendants or with anyone described in
   (a).




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                                                    C.
                                Section 17(a)(2) of the Securities Act
     (Against Woodbridge, WSF, Fund 1, Fund 2, Fund 3, Fund 3A, Fund 4, Bridge Loan
                                  Fund 1, and Bridge Loan Fund 2)
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendants
   Woodbridge, WSF, Fund 1, Fund 2, Fund 3, Fund 3A, Fund 4, Bridge Loan Fund 1, and
   Bridge Loan Fund 2, are permanently restrained and enjoined from violating Section
   17(a)(2) of the Securities Act [15 U.S.C. § 77q(a)(2)] in the offer or sale of any security by
   the use of any means or instruments of transportation or communication in interstate
   commerce or by use of the mails, directly or indirectly:
          (a)      to obtain money or property by means of any untrue statement of a material
                fact or any omission of a material fact necessary in order to make the statements
                made, in light of the circumstances under which they were made, not misleading;
   with respect to:
                   (A) any investment strategy or investment in securities,
                   (B) the prospects for success of any product or company,
                   (C) the use of investor funds,
                   (D) compensation to any person,
                   (E) the misappropriation of investor funds or investment proceeds.
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
   following who receive actual notice of this Judgment by personal service or otherwise: (a)
   These Defendants’ officers, agents, servants, employees, and attorneys; and (b) other
   persons in active concert or participation with these Defendants or with anyone described in
   (a).
                                                    D.
            Section 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”)
                                and Rules 10b-5(a) and (c) thereunder
                                    (Against Debtor Defendants)
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Debtor
   Defendants are permanently restrained and enjoined from violating, directly or indirectly,


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   Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rules 10b-5(a) and (c)
   promulgated thereunder [17 C.F.R. §§ 240.10b-5(a) and (c)], by using any means or
   instrumentality of interstate commerce, or of the mails, or of any facility of any national
   securities exchange, in connection with the purchase or sale of any security:
          (a)    to employ any device, scheme, or artifice to defraud; or
          (b)    to engage in any act, practice, or course of business which operates or would
                 operate as a fraud or deceit upon any person,
   with respect to:
                 (A) any investment strategy or investment in securities,
                 (B) the prospects for success of any product or company,
                 (C) the use of investor funds,
                 (D) compensation to any person,
                 (E) the misappropriation of investor funds or investment proceeds.
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
   following who receive actual notice of this Judgment by personal service or otherwise: (a)
   These Defendants’ officers, agents, servants, employees, and attorneys; and (b) other
   persons in active concert or participation with these Defendants or with anyone described in
   (a).
                                                  E.
                Section 10(b) of the Exchange Act and Rule 10b-5(b) thereunder
     (Against Woodbridge, WSF, Fund 1, Fund 2, Fund 3, Fund 3A, Fund 4, Bridge Loan
                                Fund 1, and Bridge Loan Fund 2)
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendants
   Woodbridge, WSF, Fund 1, Fund 2, Fund 3, Fund 3A, Fund 4, Bridge Loan Fund 1, and
   Bridge Loan Fund 2, are permanently restrained and enjoined from violating, directly or
   indirectly, Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5(b)
   promulgated thereunder [17 C.F.R. § 240.10b-5(b)], by using any means or instrumentality
   of interstate commerce, or of the mails, or of any facility of any national securities
   exchange, in connection with the purchase or sale of any security:




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          (a)    to make any untrue statement of a material fact or to omit to state a material
          fact necessary in order to make the statements made, in the light of the circumstances
          under which they were made, not misleading;
   with respect to:
                 (A) any investment strategy or investment in securities,
                 (B) the prospects for success of any product or company,
                 (C) the use of investor funds,
                 (D) compensation to any person,
                 (E) the misappropriation of investor funds or investment proceeds.
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
   following who receive actual notice of this Judgment by personal service or otherwise: (a)
   These Defendants’ officers, agents, servants, employees, and attorneys; and (b) other
   persons in active concert or participation with these Defendants or with anyone described in
   (a).
                                                  F.
                                Section 15(a) of the Exchange Act
                                (Against Woodbridge and WSF)
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendants
   Woodbridge and WSF are permanently restrained and enjoined from violating, directly or
   indirectly, Section 15(a) of the Exchange Act, [15 U.S.C. § 78o(a)], by using the mails or
   other means or instrumentalities of interstate commerce, to effect transactions in, or to
   induce or attempt to induce the purchase or sale of securities, without being associated with
   a broker or dealer that was registered with the Commission in accordance with Section
   15(b) of the Exchange Act [15 U.S.C. §78o(b)].
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided
   in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the
   following who receive actual notice of this Judgment by personal service or otherwise: (a)
   These Defendants’ officers, agents, servants, employees, and attorneys; and (b) other
   persons in active concert or participation with these Defendants or with anyone described in
   (a).


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                                                 II.
                              DISGORGEMENT AND PENALTY
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that upon motion
   of the Commission, if any, the Court shall determine whether it is appropriate to order
   disgorgement of ill-gotten gains and/or a civil penalty pursuant to Section 20(d) of the
   Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C.
   § 78u(d)(3)] and, if so, the amount(s) of the disgorgement and/or civil penalty.             If
   disgorgement is ordered, Debtor Defendants shall pay prejudgment interest thereon,
   calculated from December 4, 2017, based on the rate of interest used by the Internal
   Revenue Service for the underpayment of federal income tax as set forth in 26 U.S.C.
   § 6621(a)(2). In connection with the Commission’s motion for disgorgement and/or civil
   penalties, if any, and at any hearing held on such a motion: (a) Debtor Defendants will be
   precluded from arguing that they did not violate the federal securities laws as alleged in the
   Amended Complaint; (b) Debtor Defendants may not challenge the validity of the Consent
   or this Judgment; (c) solely for the purposes of such motion, the allegations of the Amended
   Complaint shall be accepted as and deemed true by the Court; and (d) the Court may
   determine the issues raised in the motion on the basis of affidavits, declarations, excerpts of
   sworn deposition or investigative testimony, and documentary evidence, without regard to
   the standards for summary judgment contained in Rule 56(c) of the Federal Rules of Civil
   Procedure. In connection with the Commission’s motion for disgorgement and/or civil
   penalties, if any, the parties may take discovery, including discovery from appropriate non-
   parties.
                                                III.
                              INCORPORATION OF CONSENT
          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent is
   incorporated herein with the same force and effect as if fully set forth herein, and that
   Debtor Defendants shall comply with all of the undertakings and agreements set forth
   therein.




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                                                 IV.
                                 RETENTION OF JURISDICTION
             IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court
   shall retain jurisdiction of this matter for the purposes of enforcing the terms of this
   Judgment. The Bankruptcy Court shall continue to maintain jurisdiction over all such
   matters to which the Bankruptcy Court has jurisdiction over in the Bankruptcy Case.
                                                  V.
                                   RULE 54(b) CERTIFICATION
             There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of
   Civil Procedure, the Clerk is ordered to enter this Judgment forthwith and without further
   notice.
             DONE and ORDERED in chambers, at Miami, Florida, this 21st day of May 2018.




   Copies furnished to:
   Jonathan Goodman, Magistrate Judge
   Counsel of record




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